      Case 3:05-cr-00087-RV-MD    Document 150     Filed 03/21/08   Page 1 of 1

                                                                            Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                         Case No: 3:05cr87/RV
                                                 3:06cv559/RV/MD
RODRIGO MARTINEZ-ULLOA
_____________________________________________________________________
                                    ORDER
       This cause comes on for consideration upon the magistrate judge's report and
recommendation dated April 18, 2007. The defendant previously has been furnished
a copy of the report and recommendation and has been afforded an extended
opportunity to file objections pursuant to Title 28, United States Code, Section
636(b)(1). (See order of June 11 2007). He has done so. I have made a de novo
determination of those portions to which an objection has been made.
       Having considered the report and recommendation and all objections thereto
timely filed by the parties, I have determined that the report and recommendation
should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
       2.    The motion to vacate, set aside or correct sentence (doc. 114) is
DENIED.


       DONE AND ORDERED this 21st day of March, 2008.




                                      /s/ Roger Vinson
                                      ROGER VINSON
                                      SENIOR UNITED STATES DISTRICT JUDGE
